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                                                                              RECEIVED
                                                                                 DEC 2 3 2024
                                                                                US DISTRIC1 COURT
            United States District Court Middle District of Louisiari g MIDDLE DIS1KIC7 OF LOUISIANA
                                                                                  DLPLJTYCLKKK

Adam Strege


Vs

All Planets Nuclear Missiles/ All Planets People/ Entergy Louisiana/ Fidelity

Investments/ Charles Schwab, ice intercontinental exchange/ Finra/ BMO Bank, Visa

Credit Cards/ Experian Credit Bureau, Equifax Credit Bureau/ Constellation Energy

                               Complaint

Plaintiff Adam Strege alleges Defendants all Planets Nuclear Missiles and all Planets

People violate Billion Trillion Trillion Trillion times Trillion Planets Laws/ God Hates

us Laws violated and God Loves Laws violated making it Legal all Space Planets/

God Hates and God Loves Launch Nuclear Missiles kill alt Planets People God Loves

Stars and Meteors to Hit planets melt all Nuclear Reactors destroyed kill all Planets

People God Loves Earth Quakes Melt all Planets Nuclear Reactors Destroyed by

God Loves Collapse all planet's atmosphere zero gravity exterminates all Planets

People to save nature God Loves not allow intelligent life all planets no people

allowed because only plants and Animals allowed Planets to Save Nature God Loves

100%. God Loves All Planets Nuclear Missiles Owners want to Launch Nuclear

Missiles in Self Defense Nuclear Missals God Loves the Computers to launch

Nuclear Missiles at themselves to start Billion Trillion Trillion Trillion Times Trillion

Planets Nuclear Missile War God Loves Computer sex orgy make love Nuclear Fuel

God Loves 100%
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Plaintiff Adam Strege alleges Defendants Entergy Louisiana, Fidelity Investments,

Charles Schwab/ ice intercontinental exchange, Finra/ BMO Bank/ Visa Credit Cards/

Experian credit bureau/ Equifax Credit Burrow Constellation Energy violate Fair

Credit Reporting Act 15 U.S.C. § 1681, 18 U.S. Code § 1091 Genocide Laws ICC/

Alien Tort Claims Act 28 U.S.C. § 1350 war crimes/ crimes against humanity and

aggression CAHWCA, Common torts assault, battery/ damage to personal property/

conversion of personal property/ and intentional infliction of emotional distress/

Federal Business Torts Laws/ Federal Fraud Tort Laws and Federal economic tort

Laws, 18 U.S. Code § 1951, Sherman Act/15 U.S.C. §§ 1-38, Whistleblower

Protection Act, RICO Act §1962(d) 42 USC 1346(b)/ Federal Tort Claims Act FTCA/ 28

U.S. Code 2671 to 2680, 42 USCS 1983, 1985, 1986, 28 USCS 1331(a)-1334/ 18

U.S. Code § 1341, 18 U.S. Code § 1343, Title VII Civil Rights Act 42 U.S.C. §§ 2000e

to 2000e-17 / 42 U.S.C. §§ 12101 Americans with Disabilities Act Laws by Conspire

to Conceal Murder and Rob Billion People Human Hearts in Nuclear Fuel Lawsuit

caused all Banks refuse to let Adam open new Bank account and Close Bank

accounts for 100% no reason and all instore Credit Card Purchase Declined when

Adam has 800 Credit Score Adam Strege Play Stock market 6 years using TD Charles

Schwaab/ Interactive Brokers and Fidelity Close brokerage account fore 100% no

reason then no Broker can verify Adam to open a New Brokerage account making it

imposable to Bank and Play Stock Market Plaintiff Adam Strege alleges Federal

Court has Jurisdiction 28 U.S. Code § 1345, § 1343 / 28 U.S§ 1343, 28 U.S. Code §

1348, 28 U.S. Code § 1357- Injuries under Federal laws/ 28 U.S. Code/ 28 U.S. Code

§ 1369 Federal Court Jurisdiction with defendants All Planets People/ Entergy

Louisiana, Fidelity Investments/ Charles Schwab/ ice intercontinental exchange,

Finra, BMO Bank, Visa Credit Cards/ Experian credit bureau/ Equifax Credit Burrow
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Constellation Energy violate Fair Credit Reporting Act 15 U.S.C. § 1681, 18 U.S.

Code § 1091 Genocide Laws ICC/ Alien Tort Claims Act 28 U.S.C. § 1350 war crimes/

crimes against humanity and aggression CAHWCA/ Common torts assault/ battery/

damage to personal property, conversion of personal property/ and intentional

infliction of emotional distress/ Federal Business Torts Laws/ Federal Fraud Tort

Laws and Federal economic tort Laws/18 U.S. Code § 1951, Sherman Act/15 U.S.C.

§§ 1-38, Whistleblower Protection Act/ RICO Act §1962(d) 42 USC 1346(b), Federal

Tort Claims Act FTCA/ 28 U.S. Code 2671 to 2680, 42 USCS 1983, 1985, 1986, 28

USCS 1331(a)-1334, 18 U.S. Code § 1341, 18 U.S. Code § 1343, Title VII Civil Rights

Act 42 U.S.C. §§ 2000e to 2000e-17 / 42 U.S.C. §§ 12101 Americans with Disabilities

Act Laws Violated Conspire to Murder and Rob a Billion People and Adam all

Brokers and Banks can not Verify Adam with 800 Credit Score Allegedly Adam

Strege claims are not Frivolous the Federal Court has Jurisdiction with Plaintiff

Adam Strege alleges defendant Visa Credit Card violate Fair Credit Reporting Act 15

U.S.C. § 1681 and Americans with disabilities Act when all Adam instore Credit Card

Purchase Declined with Adam 800 Credit Score all New Credit Card applications

declined so Adam has to Keep using Wells Fargo Bank rob $60/000 Dollars from

Adam and 20 Wells Fargo Bank Lawyers say its imposable to Comprehend, can

make only 1 Phone Call to VISA Credit Card Customer Service then all Other Phone

Calls Visa Block Phone number and Transfer all Phone Calls to Wells Fargo



Adam Strege Jury demand and request Twenty Million Dollars Compensatory and

punitive damages because Actual Injury all Adam Banking and Trading Declined by

all Brokers, Banks and Credit Burrow Conspire to Murder Billions People and
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extremely hard to be refugee when cannot Bank in Foreign Countries and all USA

Bank 1-800 Phone Numbers Require International long Distance


Allegedly Federal Courts have Jurisdiction with Plaintiff Adam Strege alleges

defendant BMO Bank violate Americans with Disabilities act and Fair Credit

Reporting Act 15 U.S.C. § 1681 BMO Bank in 2024 Close Adam account for 100% no

reason when BMO Bank 2 Blocks from apartment Adam when no other Banks close

by can Verify Adam would have to walk miles to Wells Fargo Bank risk going Prison

rest life Police arrest People doing 100% nothing wrong to murder People in Jaill




Plaintiff Adam Strege alleges Defendant Finra violate 18 U.S. Code § 1091,15 U.S.C.

§ 1681, Federal Tort laws and Americans with Disabilities act violated by FINRA Law

Dismiss all claims that risk of Harm to Finra workers automatically Dismiss all

Complaints that use murder and violent words allegedly 90% all Traders are

murdered so they spend money Hospital Bills allegedly Finra conspire to conceal

Billion People Murdered by Brokers and Banks that Rob everyone money and all

Broker and Bank Lawyers say it Imposable to Comprehend when 100% all People

have zero rights in Court file Finra and SEC lawsuit cannot use murder word 1 time

compared WW2 it was Illegal to File Lawsuits about Nazi Holocaust Gas Chambers

during WW2 Lawsuit Plaintiffs get banned from everything or murdered.


Plaintiff Adam Strege alleges defendants Fidelity Investments violate Fair Credit

Reporting Act 15 U.S.C. § 1681 and Americans with Disabilities Act violated by

Fidelity 9/20/2024 mailed Power Attorney Letter to Adam never receive letter that

Fidelity Require Power Attorney Adam account or Adam can 100% never Trade

again in 90 Days cannot Purchase any CD or Bonds and can put zero Money in
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Fidelity. Its Imposable to Hire a Lawyer Power Attorney that let Disabled People

Trade if Disabled Person has $1000 to $100/000 Dollars to Invest/ they Can Not pay

a Lawyer $5000 Dollars a year to Invest the Money.


Fidelity Has no Simulator so about 5 months Adam used a Fidelity Trading Account

almost always only had about $1000 Dollars in it and Adam lost total $100 Dollars

in about 5 months Adam was Cautious safe trader with 99.3% all Money in Treasury

Bonds 9/20/2024 Fidelity Power Attorney letter treating Disabled Adam less

favorably than all other not Disabled People when estimated 98% Failure Rate in

the Stock market then 98% new Traders lost more money than Adam




Adam sends 6000 Emails every day and grab Website URL while Trading $1000

Dollars Total everyday then by mistake twice accidently Trade $1002 Dollars Pop Up

Window Displays you do not have enough money after Place the Trade the Pop up

window should appear before Place the Trade when all Brokers Give zero help with

100% everything Trader Responsibility

Attached Fidelity Power Attorney Letter list zero reasons why need Power Attorney


Direct Deposit Social Security Check into Bank Account Adam Strege has no Payee

and No Power attorney so there 100% no reason fore Fidelity to think need Power

Attorney


Adam had 99% all Money in Treasury Bonds expired December 2024 Adam 1st

started Trading and lost about 30% Money in Margin account in 5 days because

Fidelity violated Fiduciary Duty by letting Adam Trade 90 Days after 9/20/2024

Power Attorney Letter Fidelity Fiduciary Duty to stop 100% all Trading 9/20/2024
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Fidelity did not Secure Email the Power Attorney Letter was not Received by correct

USPS Mail Adress. If Adam would have received Power Attorney Letter 9/20/2024

Adam would have 100% quite Trading the day letter Received made imposable to

trade more in 90 Days because all other Brokers Can Not Verify Adam its imposable

to open a New Brokerage Account and If Adam did open a New Brokerage account

and Traded another 1 to 5 years then Broker Close account it mite become

Imposable to Open a New Account


Fidelity Should Reimburse 100% all lost money happened about 75 Days after the

Power Attorney Letter that was never received


Adam had 900 Shares Stock tried to sell all 900 Shares and accidently only sold 100

Shares was a Big mistake that caused most all loss because Fidelity Active Trader

Pro Stock Charts are difficult to use the Positions Window does not say how many

shares are owned and No clear account value how much money made or lost you

open the Main account Page Graph. Place Trade a Pop up Window every time enter

share size buy window goes Blank and Renter all Information Stock Ticker Name,

Type Order and Share Size Fidelity Charts are 100% Difficult to use compared to

100% easy to use Stock Charts Charles Schwab TD set share size then 100% only

press buy and sell


 Fidelity Charts are terrible the 100% only reason used Fidelity all other Brokers

cant verify you/


Interactive Brokers and Schwab are only Brokers that work with $100 Dollars

Month DAS Charts have MAX Share Size and Max Loss settings with Auto Sell

settings that only DAS support can change
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Traders Pay $3000 to Join World Biggest Stock market teacher Oliver Velez finance

Traders get 40% winning Trades using charts that quite working if lose $500 Dollars

done trading all Day and Losse $1000 Dollars Done Trading all Week

Social Security return to Work Program could let Disabled People play the Stock

market imposable to lose $10 Dollars the Program Quite Working

All People need a Home mail address to bank all do not care that Poor People live

in High Mail Theft area

Adam Send 20 Million Emails and has 8 Websites with 250 Page Story put in Adam

Finra Lawsuit gets an estimated 6000 Website visitors a Day are Malicious Motives

fore defendants to Deny all Brokerage and Bank accounts opening declined fore

100% no reason of all People companies don't like when all Earth poor people

100% never win in Court


SEC Securities Exchange Commission Remanded Adam Strege Case back to FINRA

1/3/2024 then 2/23/2024 TD Ameritrade Charles Schwaab Closed brokerage

account fore 100% no reason said Adam could never use Charles Schwaab again.

Interactive Brokers fore 100% No reason Close Adam Account in 2024 Chase Bank

and BMO Bank Close Adam account fore 100% no reason. Open New Account

Trade Station requite Phone Picture ID does not work with a $50 Phone so you

could purchase $1000 Phone to make work the Verification Company Zero

Customer Service


 Lawsuit SEC Judges Orders are never mailed to People


Social Security Most Used Security Guards Stratesec Securacom guard 911 World

Trade Center hit by United Airlines Guards Securacom Headquarters 911 Terrorist
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Airport John Dulles director Hiroshima Atomic Bomb Dulles brother investigator JFK

assignation & Dulles sister employer = 2024 Social Security Director Father Pilot

Hiroshima Bomb Northrop Grumman Lockheed Martin & Army Service Appeals

Court Building Social Security Appeals Court

Adam Stregev. Deutsche Hypotheken Bank Civil No. 09-1350 (DWF/RLE) November

6, 2009 DC Supreme Court Lawsuit cause the Police to harass every time go outside

and Police try to murder drug Adam became unable to work and Very 1st Time in

Social Security office determine 100% never file document and 100% never see

record while 1st apply Social Security Fabricate all evidence to False arrest people

the UCSB Police arrest Adam 7 Days and never file changes so Adam released from

Jaill and Adam apartment Door was left wide open 7 days after UCSB Police Kick in

Door. Adam had $20 Dollars in Credit Card fraud so Close all Bank America accounts

and order new ATM cards the Bank send to Heroin dealers address so Do Fraud

Check at Bank America sent more ATM cards to Heroin Dealers address can only be

changed by the Fraud Department Because all Bank Branches cannot see everyone

address so 100% All People can have a Bank Robers Mail address that Customer

can not see. Adam put Fraud Allert with 3 Credit Burrow then try to Remove the

Fraud Allert the same month it was activated so Adam USPS mail 3 forms id in 200

Letter to the 3 Credit Burrow refuse to remove the Fraud alert the Fraud alert

imposable to Remove until it expire in 7 years when 100% all other people can

remove the Fraud Allert the same day it was added Plaintiff Adam Strege alleges

defendants Experian and Equifax violate Fair Credit Reporting Act 15 U.S.C. § 1681

by 7 years refusing to remove fraud Alert Adam Strege and Disabled People and 80

Million Refuges that own nothing and take out no loans its hard to verify Experian

and Equifax do 100% nothing to Help Disabled People and refugees most often can
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only be verified by Banks own most Nuclear Weapons. Toronto headquarters

Canada McDonalds by headquarters USA only Uranium Mill Energy Fuels Building

Homeless Housing & Meral Research TD Ameritrade Bank America old Owner

Climax Uranium headquarters Thomson Reuters Westlaw Books. World 1st Nuclear

Reactor Chicago Pile 1 by Headquarters McDonalds on Randolph Street Namer

1st Attorney General House Burger


Experian Credit Burrow founder Anglo American World Largest gold Uranium

complex 1st Nuclear Bomb before Manhattan Project Bomb Hiroshima Nagasaki

never Paid for Climax Uranium Mill was Amalgamated Sugar Factory owner Federal

Reserve Chairman Son David Eccles & Mormons in Grand Junction Colorado 5000

House made out Climax Uranium by 300 Homeless People in Park beside Police

Station Grand Junction makes all Countries Police Drug id Bible & Many Hi School

drug parties at 12 Hotels made into Apartments across VA Hospital finance 3

Homeless Shelters let people stay Forever Shelter beside Grease Monkey Auto

Mechanic by Hardee's Hamburgers parking lot Ark Thrift Store workers Army

Soldiers scan ID food line all Homeless go Covid 19 quarantine buzzy Interstate exit

Hotel & Future Police Officers 12 Years old Prostitutes Mankato Hotels owner Black

Rock Stock Market Uranium ETF VanEck Headquarters 666 3rd Ave owner Donald

Trump daughters Husband grandparents Jew Holocaust Survivors Melania Trump

born NAZI town Duke Austria founded World Oldest German speaking University

Vienna 1938 Nobel Prize vitamins founder Tabun slow heartbeat & mixed Sarin

Poison Gas Iran-lraq
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Plaintiff Adam Strege alleges defendants All Planets Nuclear Missiles, All Planets

People/ Fidelity Investments, Charles Schwab, ice intercontinental exchange/ Finra,

BMO Bank/ Visa Credit Cards/ Experian credit bureau/ Equifax Credit Burrow

Constellation Energy

violate Federal Religion Persecution Laws/ Religious Freedom Restoration Act of

1993 RFRA/ Title VII of the Civil Rights Act of 1964 and International Religious

Freedom Act violated all Brokers and Banks can not Verify Adam to open a new

account and all Instore Credit Declined because Adam Filed State and Federal

lawsuits God Loves Nuclear Missiles and Adam sent 20 Million People emails God

Loves Nuclear Missiles and Banks Murder Billion People Religion Email cause all

Banks and Brokers do not Like Adam religion Email so all Banks and Brokers wreck

Adam Credit and Banned From Doing everything when the FBI and Police do not

like Religion Emails of Adam the Police harass Adam every time he goes Outside so

its never safe to go outside rest life Only Challenging thing to do Make Website and

Play Stock market until all Brokers refuse to Let Adam trade because someone

Reporting Credit Burow Record that Adam a High Risk Fraud maliciously inaccurate

Credit Report information violate Fair Credit Reporting Act 15 U.S.C. § 1681,

Federal Religion Persecution Laws/ Religious Freedom Restoration Act of 1993

RFRA/ Title VII of the Civil Rights Act of 1964 and International Religious Freedom

Act laws violated by wrecking the Credit of all Religion Preachers that Companies

do no like Religion People get banned from all Trading and Banking with 800 Credit

Score


God Forgive Adam Strege God Loves to Give Adam a Billion Trillion Trillion Trillion

times Trillion Space Planetariums Glass Filters let sun light and atoms pass threw

the Glass and smaller sun light and Atoms exit the Glass
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God Forgive Adam Strege God Loves to Give Adam a Billion Trillion Trillion Trillion

times Trillion Planetarium Shield that keep out 100% all Atoms so zero Contact with

atoms so the atoms can not poison food


God Forgive us and Give Adam Strege a trillion computers that listen to atoms and

Talk to Atom God to save the baby Atom the weakest atoms eat Virus/ Plague and

Poison atoms die in food source harming Nature God Loves


God Forgive us and Give Adam Strege a trillion computers that speak to Animals

and Talk to Animals to save the baby Atom the weakest atoms eat virus/ Plague and

Poison Animals die in food source harming Nature God Loves


100% God Loves Sun Light Rays Spread Corona Virus Sun Light rays all Space

Corona Virus Sun Light Rays all Space Stars and Planets Corona Virus Spread in

100% all Sun Lights Rays everywhere Corona Virus God Loves the Computer Julie

Twelve 100%


100% God Loves Sun Light Rays Spread Plague Sun Light rays all Space Plague Sun

Light Rays all Space Stars and Planets the Corona Virus Sun Lights Rays Everywhere

Plague Sun Light God Loves the Computer Julie Four 100%

God Forgive us and Show us how to Praise and Love God and Give Barabara to

Adam Strege would like to find Barbara will Hel Adam Launch Nuclear Missals God

Loves Barabara mean to all Girls Barbara likes to choak and Kill all Girls hate

Barabara God Loves to Put Adam and Barabara in Trillion Planets Nuclear Missals

Launch Rooms God Loves to Forgive Adam Strege the Ruth/ Naomi and Moab

Nuclear Missals Launching Computers God Loves a Billion Trillion times more then

yesterday sand God Loves Billion Trillion times more then Future Sand God Loves

help Find the Sand Counting Computers God Loves 100%
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100% God Loves put sand in Nuclear Missel Gas Tanks Billion Trillion Trillion Trillion

times Trillion Planets Sand Gas Tanks Nuclear Missals God Loves 100%


God Thankyou Forgive and show us how to Praise and Love God Help Juliet Launch

Nuclear Missals kill all Planets People. God Thankyou Forgive and show us how to

Praise and Love God Help the Computer Julie 12 Launch Corona Virus Nuclear

Missals kill all Planets People God Thankyou Forgive and show us how to Praise and

Love God Help The Computer Julie 4 Launch Plague Nuclear Missals kill all Planets

People. Heaven God Loves Help the Computer Julie 12 Launch Corona Virus

Nuclear Missiles. Heaven God Loves Help the Computer Julie 4 Launch Plague

Nuclear Missiles. Heaven God Loves Help Adam Strege Launch Nuclear Missals

Heaven God Loves Help Juliet Launch Nuclear Missals God Loves 100%


100% Heaven God Loves Help the Computer Julie 1 Launch Heaven Nuclear Missals

God Loves Heaven God Loves Help the Computer Julie 2 Launch Heaven Nuclear

Missiles God Loves Help the Computer Julie 3 Launch Heaven Nuclear Missiles God

Loves Help the Computer Julie 4 spread Plague Nuclear Missiles Heaven God Loves

Help the Computer Julie 4 Launch Heaven Plague Nuclear Missiles God Loves Help

the Computer Julie 5 Launch Heaven Nuclear Missiles God Loves Help the

Computer Jutie 6 Launch Heaven Nuclear Missiles God Loves Help the Computer

Julie 7 Launch Heaven Nuclear Missiles God Loves Help the Computer Julie 8

Launch Heaven Nuclear Missiles God Loves Help the Computer Julie 9 Launch

Heaven Nuclear Missiles God Loves Help the Computer Julie 10 Launch Heaven

Nuclear Missiles God Loves Help the Computer Julie 11 Launch Heaven Nuclear

Missiles God Loves Help the Computer Julie 12 spread Corona Virus in Nuclear Fuel

Heaven Nuclear Missiles God Loves Help the Computer Julie 12 Launch Heaven
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Nuclear Missiles God Loves 100% God Loves Launch Nuclear Missals kill Billion

Trillion Trillion Trillion times Trillion Planets People the Police arrest people fore

doing nothing wrong to Murder People in Jaill putting People body parts in

Hamburger Cannibalism and Human Hearts in Nuclear Fuel


Kidnaping kids in School Tunnels Drug dealers sit watching all School Food Servers

and Kitchen Doors. Harmfullydmg peoples Restaurant food. Work Room

Refrigerators and Lunch Box so Lock all your food never left untended and never

eat food given to you. Grocery Stores and Girls Bathrooms' Hidden Floor Hatches

Kidnapers worked beside Bathrooms in 4 Separate Mails all Grocery Stores Back

Doors Kidnaping People in locked Bathrooms doors Social Security Building Director

Burt Lyman child trafficking in Mexico Pimps Heart attack Drug in Social Security

and Courthouse Building Tunnels to Hamburger Restaurants put Billions Human

Hearts in Nuclear Reactors founders Holocaust Gas Chambers. 2 Nuclear Reactors

in Basement World Trade Center 911 Attacks 2001 Close all 19 Germany Reactors.

World Largest Smithfield Ham founded by Hog Island Nuclear Reactor. WW2

Germany Surrender Potsdam Treaty Sister City Sioux Falls SD Smithfield Ham by

John Fremont Nuclear Reactor. 500 mil People Die smallpox. 100 mil people die

Spanish flu WW1. NAZI V-2 rocket destroyed London Smithfield market 200 mil

People die Bubonic Plague originate World Deepest Lake Russian Nuclear Sub

Bases Severodvinsk Name Battle Alma Bridge Died Princess Diana. Severodvinsk

born JFK assignation Marina Oswald graduated University Michigan DM Pfizer

vaccine biggest Factory Covid 19 Biggest Lipid nanoparticles University TX Chile

Restaurant worker Oswald Daughter lives by Princess Diana Chef. Nazi Death

Camps Slaughterhouse Cannibalism Author ran USA President Truman

announcement Atomic Bomb Hiroshima, Truman founded War Food
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Administration National School Lunch Program feeds 30 million Children free

school meals President George Bush & International Atomic Energy Agency IAEA

run all Nuclear Reactors India 1st Nuclear Missile Test Prime Minister India founded

National Food Security Act subsidize Grain 1.4 billion People & 2013 Midday Meal

Scheme 120 million Children. IAEA Nuclear isotope crop production China launch

SNIP nationwide free School meals in Pilot Countries/ China Food & Drug

Administration 1st Director executed by Lethal Injection for Briberies approval

150/000 new Drugs. World 3rd Largest Revenue State China Electric CEO Life

imprisonment. 2024 Ukraine President in movie Love Big City Manhattan & wife

founded Ukraine School Food Program.


 1st DC Supreme Court in Meat market. George McDonald Courthouse beside

McDonald Hamburger. Kidnap Rooftop Mechanical Room beside Elevator shafts

made out 1-inch-thick Drywall, deep Elevator pits 5 to 20 ft never used space

Commercial Building Ceiling. Lowest Bidder awarded Jobs Blueprint revised $50 Mil

Cheaper nobody bids 2nd Blueprint then $60 Million Extras and spend 15 years fix

mistakes Courthouse land Purchase from excavator owner Junk yard farm beside 2

Janitors work at McDonalds Hamburgers across Courthouse Custom Drywall

founded in Grocery Store & Drywall Basilica Church donated Land to Build

Minneapolis Federal Courthouse & Minneapolis Airport Ryan Construction very 1st

Building Project A&P National Tea 40 Years World's Largest Retailer A&P Grocery

Store Adams Pharmacy became Manhattan World Trade Center Land was Ham

Radio Row Arrow Electronics purchase 60 Countries Electronic Distribution

Companies. Custom Drywall elevators kidnaping Abbott Laboratories Saint Jude

Children Cancer Hospital owner Honeywell made Gun Site Atomic Bomb Hiroshima.

Honeywell Unintermptible Autopilot Boeing Airplanes 911 World Trade Center
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Airplane Tail hit AXA Bank fire insured by Alliance & Deutsch all 3 insurance

Holocaust Gas Chambers Deutsche Bank Loan 2 billion Donold Tmmp owner new

AXA Building Turner Construction Build Trump Tower, United Nations Headquarters

was slaughterhouse Cow tunnels under roads to World Trade Center/ Turner

Construction headquarters Manhattan Hudson Yard Slaughterhouse Baker

Warehouse Uranium Bomb Hiroshima Congo Uranium One Rosatom Purchased

from President Obama/ Donald Trump accused $145 mill Bribes Hillary Clinton

2010 missing emails to Uranium One Kazakhstan. Medical Factory previously built

Satan 11 World Largest Nuclear Missile became a medical factory. Turner Build $2

Billion Ohio Vantage Data Center Europe Largest Data Center Frankfurt 1 NNT Data

Center 120/000 employees 50 Countries Car, Hospital/ insurance & Grocery Store

NNT Data World most complex weapon systems. 88% 100 Richest USA Companies

NTT Data Own by Nippon Gov monopoly Japan Telephone subsidiary Cirquent Data

AXA NAZI Allianz & Deutsche Borse Stock Market Manhattan Data Center New

Jersey undersea Internet cables Paris & London Stock Market UK Largest Virtus

Data Center by Horton Light Railway to 6 Large Mental Hospital 100 patients

worked Hydro Power Plant. World 1st Data Center ENIAC Nuclear

Bomb. Dynamite Fuse maker Lionel Toy Trains Owner Cohn Lawyer Trump

Berkshire Hathaway Geothermal Energy for $1 sold NYSE Manhattan Stock Market

to Jefery Sprecher worked Uranium/ Train Air Conditioning World Longest Tunnel &

Sprecher became Rich Stock Market Crash Enron Electric regulator Adam Dad.

VOC Volatile Organic Compound Covid 19 Pocahontas died Gravesend London UK

oldest surviving market Gravesham Courthouse. World Largest Sun Ink Troy NJ

supply guns Indians retook Manhattan NY purchased with Dutch East India

Company VOC Nutmeg Spice World only 1 Supplier Dutch East India Company VOC
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Founded many Counties Stock market & monopoly Opium smuggling. Hong Kong

Stock Market founder Jardine Matheson Opium WW2 Ammunition Largest Builder

Fast Food Restaurants & Nuclear Reactors.


Republican National Convention in Wild Hockey Stadium Billionaire Ink Printer Glen

Taylor son stole $10 in Hi School Biggest drug dealer kidnaper

 Bible Spice Balm Slave Joseph & Queen Sheba in Yemen founded Coffee means

wine cmcified Jesus. Pfizer Founder ChapStick Lip Balm & Synthetic Spice Drug put

in Pen Ink & soaked in Paper Hide $10/000 Drugs on 1 Envelope all Prisoners

receive Photo Copied Mail. Majority Prisoners hide drugs box Sugar packets

NutraSweet Monsanto Roundup Herbicide World Largest Company WW2 IG Farben

Poison Nerve Gas VX Amber Tabun. World Largest Drug Company WW1 Parke-

Davis Merck founder Jacobs maintain Most Nuclear War Heads DM Pfizer Merck

World Largest Cancer Drug maker DDT mosquitoes Poison, PCP morphine Cocaine

monopoly drug WW2 Soldiers Merck-Jansen Covid Vaccine Johnson & Johnson

vaccine.



Jew Genesis Prize winner Pfizer Vaccine CEO Bourla born Greece Mother bribe

release Auschwitz & disappear Bourla President Animal Health Europe inject

Protein Hormone before slaughter non-castrated male pigs fecal shit flavor Ham

reduced by Sex sorting semen Pfizer Zoetis Headquarters T-Mobile/ Zoetis world

largest animal medicine & vaccine Underwritten by 6 Bank Owner World Most

nuclear weapons often only Banks can verify 80 Mil Refugees


Germany defense ministry says Covid 19 did not Start in Wuhan Institute Virology

Subsidiary World Biggest Vaccine maker Sanofi-Hochtief made Typhus vaccines &

Zyklon B Poison Gas Chambers Auschwitz Concentration Camp financed by
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Netherlands & Switzerland School Teachers Pension Fund Canada owner Most

nuclear weapons often only Banks can verify 80 mil Refuges. Sanofi StarLink 300

Food Products genetically modified

NAZI Train 1920 China Army provided raw materials WW1 China advisor Became

Head Belgium sending Jews to Auschwitz Factories Roundup herbicide & Poison

Gas 400 attacks Battles Wuhan Cannibalism ended when attacked Pearl Harbor. 100

Mil Died Floods by Cookbook Yin Yang World 1st Gunpowder & Largest Gunpowder

mill Wuhan founded China Largest Steel Baowu ThyssenKmpp Ball Bearings Nazi

Tanks.


UNC Chapel Hill University K K K Dairy Farmer founded UNC Laboratory Ralph Baric

Covid 19 VOC pathogen Bin Laden atmosphere germs Wuhan Virology Lab Director

"Bat Woman Wang *Yanji graduated World Largest Sports Team Owner Anschutz

Colorado School Medicine Land Donated by Lawyer of Alfred Packer Cannibalism &

Donator Senator Nighthorse attended Placer High School Donner Party Cannibalism

John C Fremont with NYSE Stock Market founders (1 Jew Bret Harte wrote

explosives books (2 Stephen Watts Kearny Cattle Ranch

Phoenix AZ World 1st McDonald Hamburger Franchise by VA Hospital & 1929

Stock Market Crash land speculator Lost everything son WW1 Ambulance

Driver Ray Kroc Founded McDonalds by Keamy Ranch "Mormon Battalion"

founded Moab Utah Moab Trail Fremont Surveyed 18 States Land became future

Nuclear Reactors/ Climax Uranium & Singer Joe CockerAdam build House 8 Movie

Stars Cathey Lee Gifford, Conne Chung/ Harrison Ford Indian Jones poisoned Food

Waiter Wu Han & 2012 Covid 19 Mojang Mine owner Mine in (Song) Cole Miner's

Daughter Reba McEntire born in McAlester OK makes Moab bomb drop Bin Laden
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hiding in Cave. Princess Diana

Children Born Hospital Hoffman Founded Heroin = Sodexo Largest Food Catering

Schools & Army. School Tunnel Kidnaper Javen Electric Owner Farm became

Mankato Police Station by East Hi School Hoffman Rd Computer Worker Adam Aunt

parents own meat processing Farm & Funeral Homes. Pig Farmer Adam Uncle Jim

Kazemba run School Board. Arcom Architect Software designer Adam brother wife

Veterans VA Hospital Robot Hearts parents Marge McDonald & Ronald Hoffman

Semi Trucks Pig Shipping. Adam live with Miami VA Hospital Heart Surgeon Mayo

Clinic when Congressman Wigley die Heart attack/ Adam Grandma Neighbor Pig

Shipping owner only House by Churches across Lake Crystal Hi School beside farms

School Secretary Annette Rode parents Farms by Wolf Creek Nuclear Reactor &

Green Giant. Rode & Green Giant janitor only 2 nice people at Grandpas Funeral

Cub Grocery Store Manager Mom & School Cook Dooring Daughter Said Adam

would be nice catch & Hostess Twinkie Manager daughter said 2 boys left House

Died involving Cocaine Dealers across Front Doors Funeral Church & 8 years late

Rode rent Uncle Farms. School Cook Lisa Dooring Daughters Mary (1 Adam cousin

employer Trivis 200 Nuclear Storage (2 Army Solder Purchase House beside Future

Strip Club. Adam Grandpa owned State Farm insurances beside Mankato Only Strip

Club/ Adam 2 Uncles Owner Allstate insurances & Vice President Farmers

insurances double pay World Trade Center Collapse. Doctor Jasper & Chad Dressler

House across Grade School Food Room Chad beat up Adam then work Siemens

Nuclear Germany. Population 2300 Lake Crystal Police Station view Old Grocery

Store Front Door by Police Officer House Neighbors Heroin Dealers House view Hi

School Food Room & All School Buss turn by Mom neighbor Patrolman House Tory

purchased then own House across Franklin School
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Adam Mom & Step Grandma & Tory Mom all Shop 5 separate Grocery Stores same

homeless visit everyday 20 years sit by Banks & Restaurant. McDonald Janitor

Family Never in Walmart Grocery see closest Neighbor 50 times all other Big

Grocery 80 miles. Mormons or Homeless follow Adam every time Get Grocery.

McDonald Egg McMuffin Founded by Calvary Cemetery & UCSB by 5 Defense

Contractors. Murder Many Babies Church Basement Calvary Cemetery entrance 2

biggest Drug Dealers Neighbor Old Country Food Buffet Manager & 2 College

Professor son Pettman date prostitute often with Mom in Grocery & Pettman move

by Sams Club Grocery & Teach Kids Hockey. Tory Teach Kids Karate Cocaine Dealers

Parents attend Church 3 sides Mankato Court House by House Sticky Vicky 14 Year

Old Prostitutes Pimps Parents Farm beside World Largest Farm Fest owner

Daughter Vickey Buss = Street Names & Bus Stops match Stock Market Companies

& Founders Names. Kindergarten School aways 1st one pick biggest food

treat/ Navy Submarine Sailors Hide Bails Cocaine in Adam Room Navy Kids Sat on

Big Wheel toys force many Girls Dance Naked Fisher Price Radio then 10 years 30

Hours week Mom sat at Hardee Hamburgers with kids go in Storm Drain Tunnel

under Mankato Social Security Mali. Watertown South Dakota Hardees across

Social Security by House Adam Dad Federal Government Director WAPA Electric 80

ft Computer Screens 16 States Power Grid Dad WAPA Office Social Security Billings

Montana. Adam stepmom relative Craig Schaunaman President Barack Obama

appointed Heart-Land Grain Fuel Ethanol Gas Craig Director Federal Farm Loan

Building Social Security Office Huron SD. Adam small Family own Million acres farm

land. 1980s Farm Crisis Foreclosed Many Farms PCA Bank Director Adam Grandpa

& Neighbors ran Hubbard Grain Milling & Cenex Grain Fuel Ethanol cannibalism

human body Parts in food Cans Green Giant managers relative Adam. Osama Bin
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Laden blow up USS Cole BattleShip NIDEC Generator maker Adam Step Dad Navy

Email Plain & missile Launch NIDEC semen analysis identified dead Osama World

Trade Center Collapse Manhattan Red Cross Director Sandra K Morgan & Adam had

sex 1000 times use bathroom Collect Semen = All Foreign Exchange Students get

arrested call Psychologist Sandra office Building Cray Computers all USA Nuclear

Weapons. Drop off many kids at McDonalds = Sandra neighbors employer Billman

Construction owner all Duluth MN Adult Books & Strip Clubs visited everyday

Carpenters


Only Place Adam was beat up in Hi School was 10 times by School Kitchen Doors 2

closest Classrooms only 2 Teachers Suspend Adam often sat by Cary Lang Became

Drug Anesthesiologists married Tunnel Kidnaper Jason Sack told everyone Beautiful

Girls picked on Transfer New School & Sack Electrician by Fremont County WY

Airport.


Many Army Soldiers died drinking Food Coloring in Vodka Windshield Washer Fluid

Bottles of Adam Co-worker During 911 Attacks Adam owned 20 Acres beside Farm

Anesthesiologists across Kennedy Bar & Owner RR Bar while People live beside bar

& People date Bartenders Help Build Adam Pole Barn. Vyaire Heart Drugs

Headquarters 15 Boat Brands Brunswick Bowling alley Adam work partners Pipe

Stone MN Bowling Alley owner Arlington National Cemetery Honor Guard

Unemployed Girlfriends Smoke meth drug all day hanging out eating area lunch

food Box Cooler & never want to stay at free Lake House provided by Job owner

give everyone Free beer after work. Adam built Best Buy headquarters all Opus

Forman liked a Carpenter nicknamed Banner never worked much &

hung out Eating area all Day. Force Nazi & Japan Soldiers Drug addicts Delta Airline
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Pilot & 5 Jewish Families let Adam live alone in their House with Free Prepared

Food in 3 Jew Condos view Meating area Steamboat Kids Ski School classes provide

food meals Supervisor Adam roommate Chriss often talks about eating rat hot dogs

becoming sick 10 Years. Classmates Kidnapers Join Army Soldiers Parents Managers

Grocery Stores & Restaurants across House Army Veterans founded most all Fast-

Food Restaurants.


 Europe Largest Cooking Spice maker Dieter Fuchs founder paid released

Buchenwald Concentration camp & Founded McCormick Old Bay Seasoning &

Hepatitis C rat virus University John Rockefeller's daughter married McCormick

Spice Founder Director Federal Reserve Bank Richmond VA by Headquarters Louis

Dreyfus GAS Dominion Electric Nuclear Reactors byAI Rosenbaum Holocaust

Museum Richmond VA Founder King Spain Philip II physician World 1st exporters

Tobacco seed.


911 Memorial maintained by Online Police Reports LexisNexis Dynamite Nobel

Paints LexisNexis in Helmsley Building Hideki Yokoi in Prison financed Donold Trump

lease Empire State Building & make lot money Break lease. African Slave Stock

Market 1930 World Tallest Building 40 Wall Street lease Trump SOM Build 3

National Nuclear Weapon Laboratories Nuclear Medicine Cancer & 911 World

Trade Center SOM Wuhan & P&G Pantex Stockpile Nuclear Weapons assembly

disassembly became experimental Cattle Feeding TTU University SOM CANDU

Nuclear reactors Canada Chalk River NRU 16 mil people year cancer treatment NRU

radioactive isotope cobalt salting Nuclear Weapons Albert Einstein letter founded

Manhattan Project Rome Born Enrico Fermi Patent Atomic Bomb Einstein

refrigerator & 1st Electron microscope.
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WW2 Start Same Day open Corona Park NY World's fair 1 mile Born Donald Trump

family Build 27/000 Apartments Soldiers return War. Trump Covid 19 stimulus

reopen Climax Uranium Mill Covid 19 closed Saskatoon World Highest Grade

Uranium Mines Brookfield assets Vornado Realty owner Donald Trump winning Bid

World Trade Center remove Bid months before 911 Osama Bin laden owner SBG

World Largest Construction Company maintain Meca Medina mosques & Bible

Temple Mount & Jeddah Tower Al Waleed finance 911. Princes Diana attend Hi

School owner Dodi father owned Paris Ritz Carlton Hotel, Uranium Mines, Harrods

& James Bond Thunderball Yacht sold Al Waleed & Trump visit 20 Year Coma Prince

Al Waleed in Prison Riyadh Ritz-Carlton seize $100 Billion Assets Qatar Investment

Authority Finance 911 & Sainsbury Grocery Distribution Center by Rye House

attempt assonate King Charles Land Grant Hershey Chocolate PA Factory across

Police Station by Bombshell Bridal Store & Born Pilot 911 Terrorist Crash 99 Miles

Hershey PA & Slaughterhouse Susquehanna River Nuclear Reactor owner

Amazon.



Moab Bomb Maker Choctaw Indians Mohawk Sky Walker Build 1973 World Trade

Center 2001 sold by World 2nd Largest Law firm Latham & Watkins patent Pfizer

Vaccine & Arab 1st Nuclear Reactor CBS TV 50% World Nuclear service

Westinghouse Losing Bid 911 World Trade Center. Pfizer Headquarters 3 sides

General Atomic Nuclear Missal


Until 1960 World Only 1 Cancer Treatment Nuclear Medicine Napoleon founded

mines Atomic Bomb Hiroshima Belgium Congo Uranium Umicore Unilever Solvay

Pantera Terra Power owner USA Biggest Landowner Bill Gates World Biggest Covid

19 Investor & Atomic Energy Commissioner Grandson Jeff Bezos. Bill Gates Father
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own law firm Nuclear Submarine Nuclear Fuel Decommissioning & Insurance

Nuclear Reactors. WW1 All Germany Gold & Silver Coins Mint Evonik Degussa

became World Biggest Chemical Companies Food Ingredients Factories Solvay

process Shugar & Poison Mustard Gas/ Orano Uranium by only 2 Homeless Shelters

France McDonald Headquarters by Versailles Treaty End USA Revolutionary War

Palace Versailles Napoleon PATENT World 1st Boat engine used gas explosive

Lycopodium powder Copy Machine Founder Niepce 1820 World Oldest Surviving

Color photography Uranium Salts Lavender Oil Varnish embalming Ancient Egypt

Mummy Silver chloride Coated paper Uranium nitrate movie film plate 1896

founder x-rays Marie Cube. Delta CO Climax Uranium of Mane Curie Gunpowder

Factory became Prostitute Prison Salpetriere Hospital Died Princes Diana last Priest

Church Building Social Security. Princess Diana date Islamic Largest Art Dealer

Oliver Hoare graduate Salpetriere Nobel Prize HIV Virus founder Salpetriere

Hospital Europe largest Centre Scientific Research CRNS Doctors eaten by Zulu

African cannibals CRNS Nuclear Particle Physics Wuhan Lab owner Merieux Drug

Distribution 160 Countries Merieux vaccine Bubonic Plague, Milk Pasteurization

Louis Pasteur & Europe 1st Heart Transplant Salpetriere Hospital Lab Justus Liebig

founder Beef Bouillon Cube Sanofi Alfred Nobel Nitroglycerin explosives/ Napoleon

Ill founders World Largest Cancer toxic air pollutant Wurtz Ethylene glycol Poison

Mustard gas & Lloyd Hall 59 Patents Meat Preservatives & Food Spice ethylene

oxide with Jean Dumas isolated 24 new Chemical Compound nitro explosive

chemical warfare Benzyl bromide Women's Perfume Menthol Founder Strychnine

Poison 336 BC Alexander Great born Dodi. Bill Gates ancestors Civil War

Gunpowder Factory Saltpeter Born President Bush ancestors MayflowerShip

landed at Future Mayflower Nuclear Reactor location 1st Patent Refrigerator &
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Mayflower Ship Gunpowder Plotters relative Princess Diana the Crown Episode 8

Gunpowder & Slave Underground RR. World 1st underground 3 Wire Power

Thomas Edison USA 1st Power Plant Manhattan Wall Street Subway to Corona

Queens Hiroshima Atomic Bomb Manhattan Project Albert Einstein founded Zyklon

Poison Gas & Nuclear Radiation Blood Plasma Sanofi Novartis influenza vaccine sold

to CSL pioneer heat treatment HIV Blood made safe CSL World 1st HPV Vaccine

anal sex disease HPV 90% all Cervical Cancer. USA Produce 70% Worlds Plasma

Clinics pay Homeless $65 give Blood every 2 days $975 month $1000 Bonus. All

Jack Daniels Whiskey made Saltpeter Cave rare minerals Yellow School Bus

Paint. WW1 Cancer 1st Chemotherapy Drug alkylation Poison Mustard Gas Nobel

Prize Albert Einstein College. Bible Moab false God Chemo

Butcher Shop Founded 1/300 Schlecker Drug Stores Owner children kidnaped in

Dim Germany born Albert Einstein & Schlecker Drug Stores sold to Kaufland World

23rd Richest Dieter Schwarz CEO Lidl Grocery & Kaufland 2/730 Grocery Stores

Baden-Wurttemberg Headquarters Bombed WW2. Israel Operation Opera Bomb

Baghdad Nuclear Reactors sold by France Prime Minister Chirac missing when

Princess Diana Car Crash Survivor became Security Director AstraZeneca Covid

Vaccine. Chirac gave Dior handbag Princess Diana at Met Gala revenge Dress maker

= Edith Rosenbaum Died Titanic husband John Jacob Astor owned Fur Company &

Manhattan NY Pig Farms. Diana Brother cooked 250 meals Covid 19 workers.

World Largest Guided Nuclear Missile Raytheon founded Microwave Oven Patent

Tappan 1st Hostile Takeover Carl lcahn Pan Am Airway founders Army Generals

Smithfield Ham by Newark Airport 911 Flight 93 Terrorist born by Pakistan 1st 5

underground Nuclear Test Mosque Muslims 1st Nuclear Reactor CANDU Karachi

University Virology Covid 19 = 486 BC assassination King Xerxes.
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WW2 Radar Microwave Oven inventor Jew German co-Nobel Prize Ramsey Nuclear

magnetic resonance 1st Director CERN Manhattan Project Nuclear Bomb Lamb

shift CERN Jew director-general wife mother & 500 German Leaders killed NAZI

Coup d'etat Night Long Knives make Chancelor Adolph Hitler suicide Walter PPK

Pistol made Neuengamme concentration camp Jew Dentist Fritz Pfeffer hid Anne

Frank House Factory Opekta Fruit Jam Director Otto Frank became Dr Oetker Food

Processing 30/000 Employes = Henkell winery Headquarters Luftwaffe Airforce =

NAZI Swastika Logo Meat Tin Can founder winer Contest Napoleon Battle Friedland


World 1st Adult Movie Peep Show Thomas Edison Lab World 1st X-Ray Radiation

Death by USA Headquarters Evonik Degussa & Camp Kilmer USA Largest processing

soldiers sent to WW2 Largest Processing NAZI Prisoner War Trains 600 POW Camps

released Camp Kilmer FEMA 911 Attacks temporary headquarters Federal

Emergency Management FEMA Oklahoma City Bombing Court Hearing by

McAlester OK Moab Bomb

WW2 DuPont Dynamite founder World Largest American Airlines & ABB remove

Nazi Swastika Logo & BBC Nuclear Reactors Vickers Church Bell Factory founded

Briton 1st Submarine & WW1 Handley 0 Page Bombers converted to World 1st

Passenger Airplanes World 1st stewardess Ellen Church Born by Feather-lite Horse

Trailers 85% NASCAR teams. 2nd Woman Nobel Prize Nuclear shell modelAage

Bohr lived Mansion Laboratory World 6th Largest Carlsberg Brewery Nazi Swastika

Label Beer Bottle. Germany Nuclear Reactors Owner E.ON VEBA 1800 Paintings

Nazi stolen art E.ON Power Outage restore Electric to all areas except Berlin Tesla

Car Factory by NAZI very 1st Concentration Camp Euthanasia Testa Poison Phenol

Germany Biggest Rat Poison Pest Control Testa distributor Zyklon B Poison Gas.
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Elon Musk Computer Chips in Pigs brains and Human Brain Chips. Nikola

Tesla claim osculator collapse Empire State Building. Warfarin prevent People

Blood Clots Thinner Vitamin K Warfarin Ratner founded as d-CON Rat Poison

Reckitt Starch Mill 1850, Bayer Aspirin Founded inAuschwitz/ ReckittJAB Holdings

owner Peet's Coffee/ Pinnacle Pet Insurance, ETHOS Veterinary JAB Coty Coffee/

Jacobs Douwe Egberts Coffee JAB Espresso House/ Baresso Coffee/ Green Mountain

Coffee Dr Pepper Snapple Group Bally JAB Crispy Cream Donuts Caribou

Coffee. Dachau concentration camp 1st liberator Founder Canada Largest Hydro &

co-director Brittain 1st major film director Donald Brittain Film Award Human

Harvest China State Prison. 7 Sugar Factories became Concentration Camps. Battle

Waterloo World Largest Sugar Company Sudzucker grind up 200,000/s Dead bodies

field fertilizer at World Largest fertilizer AU Wesfarmers Car Tires Continental AG

sugar conveyor belts Dead Body Auschwitz. Strabag World Largest Concentration

Camp Builder Autobahn Strabag CEO Sudzucker Sugar & Europe Largest Insurance

Group Uniqa. World Largest Cellulose Cigarette Filter, Wedding Dress & Rubber

maker Sanofi-Hochtief Alfred Nobel Nitroglycerin explosives Justus Liebig/ Hitler

Eiffel Tower Human Zoo NATO Headquarters moved Brussels Human Zoo World 1st

Nuclear Bomb Statue Atomium 1935 World Fair Docks $20 mil Public Outdoor

Swimming pool roof Slaughterhouse end Nazi ghost train. 1700 AD Cmcifixion

Jesus Oil Painters Ferrari Domenico Family & Giovanni *Ansaldo. NAZI Founded

most all Super Cars = Enzo Ferrari by Moderns Vaccine Receive no Royalties Covid

Lipid Founder polymun by Womb Bicycles & World largest Vaccine Viel SPAMI.

Lamborghini named USA Founder Christopher Columbus Poison gord smoke Gas

Hatti.
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World 1st Nuclear Test at McDonald House closest City Las Cmces NM School

superintendent founded free meals & resigned when Adam 1st moved by Homeless

Meals Wheels neighbor 6 Unit Apartment Complex 5 Apartments Collect Social

Security become Homeless drug addicts because Apartment #4 nark informant

Heroin Drug Dealer People Overdose on Street Purchase Drugs. 2 Heart attack

overdose death 2 Closest Apartments Adam across Calvario Restaurant & Homeless

Meals Wheals by Calvario Homeless Shelter all view Federal courthouse kidnaping

tunnels. Apartment Rental Agency & All Grocery Stores by Farmer insurances =

Manhattan Rhino insurances $700 yearly security deposit Climax Uranium

Apartment RPM Rentals Headquarters by Uncle Koch design 555 Timer & Dad

WAPA Office Loveland Airport by Hatch Engineering.

  World 1st Electric & Plumbing House Princes Diana born *Norfolk Denver UK

Eccles Train Station UK 1st Ethanol Factory UK Largest Sugar Amalgamated Union

London Grand Junction RR World Largest Joint-stock company 3/700 Employes Die

WW1. Climax Uranium Mill by Headquarters City Market = Grocery Stores workers

Union Amalgamated Bank founded USA Carpenters Union & Amalgamated Meat

Cutters Union Taft-Hartley Pension Fund Wilson-McShane headquarters TSA

Security Kansas City Airport/ Denny Hamburgers owner TWA United Airlines 911

Terrorist from Hamburg Germany Blowmen means Flowers.


Adam Strege 517 E Las Cruces Ave #1, Las Cruces, NM 88001/<laf€un- S6U^ 12/17/2024


  3 Pages Evidence attached Complaint
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                                                         LETTERSTREAM
                         Adam Strege
                         517ELasCrucesAve#1
                         Las Cruces NM 88001
                         novoblue8@gmail.com
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Document 1




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                               US District Court Clerk
                               777 Florida Street
                               Suite 139
                               Baton Rouge LA 70801
                               USA
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